 4:04-cr-03061-RGK-DLP              Doc # 38       Filed: 06/09/05   Page 1 of 1 - Page ID # 99




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )        4:04CR3061
                       Plaintiff,              )
                                               )
               v.                              )
                                               )        ORDER
KENNETH SLOMINSKI,                             )
ROGER RIKLI,                                   )
              Defendants.                      )

        This matter comes before the Court on the plaintiff’s Motion to Extend Filing of Response
Brief, filing 37.

        The Court, being duly advised in the premises, finds that the motion should be granted. The
plaintiff is given until June 30, 2005 to file its response brief to the defendants’ pretrial motions.

       Dated this 9th day of June, 2005.

                                               BY THE COURT


                                               s/   David L. Piester
                                               David L. Piester
                                               United States Magistrate Judge
